     f 4:23-cr-03052-JMG-CRZ
       iLE                   Doc # 1 Filed: 04/19/23 Page 1 of 27 - Page ID # 1
  US DISTRICT GOURT
DISTRICT OF NEBRASKA                                                             SE LED
    APR 1 9 2023
                        N THE UNITED STATES DISTRICT COURT
OFFICE OF THE CLERK        FOR THE DISTRICT OF NEBRASKA

    UNITED STATES OF AMERICA,                                      4:23CR   ?J:52
                       Plaintiff,                               INDICTMENT
                                                                18 USC§ 1349
          vs.                                                   18 USC§ 1346
                                                                18 USC§ 1344
    VINCENT J. PALERMO, a/k/a "Vinny"                           18 USC§ 1343
    JOHNNY PALERMO, and                                           18 USC§ 2
    RICHARD GONZALEZ, a/k/a "Richie"

                       Defendants.




          The Grand Jury charges that:

                             Count I - Honest Services Fraud Conspiracy

                                    Introductory Allegations:

       1. At times material to Count I, defendant VINCENT J. PALERMO, a/k/a "Vinny,"

          was a city councilman and elected public official for the City of Omaha, as well as

          a member of the Turn Back Tax Committee that awards funds to non-profits,

          including the Latino Peace Officers Association ("LPOA") .          VINCENT J.

          PALERMO also participated at times material to Count I in securing city funding

          for Police Athletics for Community Engagement (hereinafter "PACE") and in the

          process of awarding fireworks permits to nonprofits in the City of Omaha.

       2. At times material to Count I, defendant JOHNNY PALERMO was a police officer

          with the Omaha Police Department ("OPD") and President and board member of




                                                1
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 2 of 27 - Page ID # 2




   LPOA. LPOA is a professional organization designed to promote the advancement

   of Latino professionals within OPD and other law enforcement organizations.

3. At times material to Count I, defendant RICHARD GONZALEZ, a/k/a "Richie," a

   former OPD police captain, was the Executive Director of PACE and a member of

   LPOA and falsely represented himself as a board member of LPOA. PACE is

   involved in administering and overseeing athletic programs for disadvantaged

   youth.

4. Between on or about January 1, 2018, and April 1, 2023, in the District of Nebraska

   and elsewhere, VINCENT J. PALERMO, JOHNNY PALERMO, and RICHARD

   GONZALEZ, defendants herein, and others known and unknown to the grand jury,

   did knowingly combine, conspire, confederate, and agree with each other to commit

   honest services fraud, to wit, they agreed to knowingly devise a scheme and artifice

   to defraud the residents of the City of Omaha of their intangible right to the honest

   services of City Councilman VINCENT J. PALERMO, and by interstate wires and

   means of facilities of interstate commerce, in violation of Title 18, United States

   Code, Section 1346 and Section 1343. Specifically, Executive Director RICHARD

   GONZALEZ and Police Officer JOHNNY PALERMO provided personal and

   financial benefits, to include airfare, luxury hotel accommodations, travel

   arrangements,   and other items of value, through a stream of benefits, to City

   Councilman VINCENT J. PALERMO, in exchange for official actions and with the

   intent to influence official actions taken by City Councilman VINCENT J.

   PALERMO, for the benefit of LPOA, PACE, and themselves.


                                         2
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 3 of 27 - Page ID # 3




                         Manner and Means of the Conspiracy

5. Defendants and others used the following manner and means to carry out the

   conspiracy and scheme to defraud:

6. It was part of the conspiracy and scheme to defraud that defendants JOHNNY

   PALERMO and RICHARD GONZALEZ, and others known and unknown to the

   grand jury, would provide VINCENT J. PALERMO with airfare and other

   accommodations to attend LPOA conferences at destinations such as San Diego,

   California; Houston, Texas ; Denver, Colorado; and Minneapolis, Minnesota.

   VINCENT J. PALERMO would not go for the purpose of attending the conferences

   but would use the trips to socialize with JOHNNY PALERMO, RICHARD

   GONZALEZ, and others known and unknown to the grand jury.

7. It was part of the conspiracy and scheme to defraud that JOHNNY PALERMO and

   LPOA would note on receipts for which they entertained VINCENT J. PALERMO,

   "councilman" and that fifteen of those receipts totaled $2,931.37 of LPOA funds

   paid for dining and entertainment of VINCENT J. PALERMO.

8. It was part of the conspiracy to defraud that VINCENT J. PALERMO failed to

   disclose that LPOA donations and grant money were used to purchase VINCENT

   J. PALERMO's travel, to include airfare and hotel rooms, as required to be

   disclosed under state law on VINCENT J. PALERMO's Statements of Financial

   Interests filed with the Nebraska Accountability and Disclosure Commission.

9. It was part of the conspiracy and scheme to defraud, that VINCENT J. PALERMO

   and JOHNNY PALERMO would rnispresent that they are cousins.


                                       3
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 4 of 27 - Page ID # 4




10. It was part of the conspiracy and scheme to defraud that VINCENT J. PALERMO

   failed to disclose his conflict of interest with LPOA when VINCENT J. PALERMO

   heard LPOA's applications for funds awarded by the South Omaha Turn Back Tax

   Committee and participated in decisions to award city funds to LPOA during

   material times for Count I. In total, the defendant participated in awarding $60,600

   to LPOA through the South Omaha Turn Back Tax Committee.

11. It was part of the conspiracy and scheme to defraud that Councilman VIN CENT J.

   PALERMO would select non-profits to receive fireworks permits at times material

   to COUNT I, and that VINCENT J. PALERMO selected LPOA and PACE each

   year material to Count I of the Indictment and that his consistent selections of LPOA

   and PACE for permits allowed RICHARD GONZALEZ to negotiate greater sums

   of money from local fireworks vendors for the benefit of LPOA and PACE over

   other nonprofits in the City of Omaha who were not favored by VINCENT J.

   PALERMO.

12. It was part of the conspiracy and scheme to defraud that RICHARD GONZALEZ

   used LPOA funds and PACE funds to fund travel for Councilman VINCENT J.

   PALERMO, to include a personal trip to Las Vegas in spring of 2019 with

   RICHARD GONZALEZ, JOHNNY PALERMO, and others known to the grand

  jury. LPOA funds were used to pay for the travel of RICHARD GONZALEZ's

   daughter's soccer coach, RICHARD GONZALEZ's sibling known to the grand

  jury, RICHARD GONZALEZ's friend and former owner of the Lemon Drop Bar,

   where LPOA donor funds were spent on Councilman VINCENT J. PALERMO,


                                         4
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 5 of 27 - Page ID # 5




   JOHNNY PALERMO, and VINCENT J. PALERMO. The LPOA board did not

   approve funding this trip. RICHARD GONZALEZ and JOHNNY PALERMO

   allowed non LPOA members and their personal friends and associates to have this

   Las Vegas trip paid for with charity funds without full knowledge and approval of

   the LPOA board.

13. It was part of the conspiracy and scheme to defraud that the defendants worked

   together to conceal VINCENT J. PALERMO's name on certain hotel rooms paid

   for by LPOA for the defendant's benefit, to include a Marriott hotel room used by

   VINCENT J. PALERMO on a trip to San Diego in September, 2022 and a

   concierge suite for VINCENT J. PALERMO booked at a Houston Marriott

   location in 2021.

14. As part of the conspiracy and scheme to defraud described above and in furtherance

   of it, the defendants caused to be transmitted by means of wire communications,

   communications in interstate commerce and utilizing facilities of interstate

   commerce, the sounds and signals described below:

    Wire                On or      Wire Description
                        About
    LPOA debit card     9/6/18    LPOA debit card charged for VINCENT J.
    charge                        PALERMO' s hotel room costs in Denver,
                                  Colorado for a stay from September 6, 2018, to
                                  September 8, 2018.
    LPOA debit card     9/6/18 to The LPOA debit card was billed for additional
    charge              9/8/18    charges to VINCENT J. PALERMO's hotel room
                                  in Denver for charges at the Omni Hotel Pool Bar
                                  and Grille.
    LPOA deposits       2/28/19   LPOA deposited a $19,000 check following
    City of Omaha                 VINCENT J. PALERMO's participation in their
    Check from Turn

                                        5
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 6 of 27 - Page ID # 6




    Back Tax                      Turn Back Tax Committee decision to act on
    Committee                     LPOA's application for funds.

    RICHARD            3/21/19    RICHARD GONZALEZ put together a trip to Las
    GONZALEZ and                  Vegas, Nevada for his friends and family and the
    JOHNNY                        councilman, VINCENT J. PALERMO, and worked
    PALERMO used                  with JOHNNY PALERMO to charge airfare for
    LPOA card to                  the trip for the defendant and others to the LPOA
    purchase flights              account. VINCENT J. PALERMO' s Allegiant Air
    to Las Vegas,                 ticket cost LPOA $397. Total airfare for the group
    Nevada                        was $3012. Turn Back Tax Committee funds were
                                  used for this Las Vegas trip.

    LPOA card was      3/29/19   LPOA funds were used to pay for the hotel rooms
    used to secure     to 4/1/19 for the group that traveled to Las Vegas, including
    hotel rooms for              the defendant, VINCENT J. PALERMO.
    the trip to Las
    Vegas, Nevada

    LPOA deposited     01/22/20   LPOA deposited $19,000 check following
    City of Omaha                 VINCENT J. PALERMO's participation
    Check from Turn               in their Tum Back Tax Committee decision to act
    Back Tax                      on LPOA's application for funds.
    Committee

    LPOA debit card    9/6/21     LPOA card was used to purchase an
    was used to                   airline ticket for the defendant, VINCENT J.
    purchase airfare              PALERMO to travel to Houston, Texas from
    to Houston,                   September 8, 2021, to September 10, 2021, via
    Texas                         United Airlines. RICHARD GONZALEZ and a
                                  PACE employee known to the grand jury in the
                                  same transaction. Each airline ticket cost $466.80.
    Check issued for   10/13/21   The defendant, VINCENT J. PALERMO stayed at
    Concierge Room                a luxury hotel suite during the September, 2021,
    at Houston                    Houston trip that cost LPOA $5,402.02 and this
    Marriott Marquis              was his personal hotel room. LPOA issued a check
    Hotel                         covering the cost of that luxury suite that the
                                  defendant caused to be deposited in his bank
                                  account on October 13, 2021. VINCENT J.
                                  PALERMO failed to disclose this payment.

    LPOA deposits      3/10/22    LPOA deposited $7,000 check following
    City of Omaha                 VINCENT J. PALERMO's participation in their
                                       6
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 7 of 27 - Page ID # 7




    Check from Turn              Turn Back Tax Committee decision to act on
    Back Tax                     LPOA' s application for funds.
    Committee
    Call intercepted   9/22/22  RG - I think you should tell everybody to start
    between                     turning in receipts.
    JOHNNY                      JP - Okay .. .I-I bring mine tomorrow
    PALERMO and                 RG - The people that are gettin reimbursed are
    RICHARD                     comin in to get their money
    GONZALEZ                    JP- Oh, okay
                                RG - Right away, but it's all the rooms that were on
                                the LPOA card, so
                                JP - Okay, yeah
                                RG - So, so what I did right now- I called Marriott
                                JP-Mhm
                                RG - I was missin one of our receipts and I called
                                em up and-and asked em, so but th-I-I got the
                                receipts for me, [PACE employee] , Vinny, [LPOA
                                fundraiser] ... those rooms are done
                                JP - Okay
                                RG - And then the airfare ... the tickets that you
                                bought for me, [LPOA fundraiser] , and [PACE
                                employee] can you get that receipt soon?
                                JP - Yep, yep.
                                RG - Okay. I mean that-that's a good lil chunk of-a
                                $5,000 I'm sure there and then you and [LPOA
                                Board Member] and somebody else
                                JP - Yep
                                RG - Th-you bought three tickets for who else?
                                JP- Um me, [LPOA members]
                                RG - So that's six tickets right there
                                JP - Yep
                                RG - Okay, on-on the LPOA card, right?
                                JP - Yep
    Call recorded      10/14/22 VP: This is Vinny.
    between FBI                 SA: Hey, Mr. Palermo .... I'm a Special Agent with
    Agent and                   the FBI.
    VINCENT J.                  VP: Okay .. .
    PALERMO                     SA: From what I understand, there are annual
                                disclosure forms that are filed as far as what
                                businesses that a public official's affiliated with
                                and so forth ...I understand you have a small
                                business, right? You're Vinny's Tree Service ...
                                VP: Correct.

                                      7
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 8 of 27 - Page ID # 8




                                SA: You own [it] ....
                                VP: Yep.
                                SA: I've got a form called Statement of Financial
                                Interests.
                                VP: Ok.
                                SA: ... had a couple questions about an entity
                                called ... LPOA ...
                                VP: Yeah.
                                SA: What sort of affiliation do you have with that
                                entity?
                                VP: ... My cousin Johnny Palermo, who's a
                                detective with the Omaha Police Department is the
                                president of LPOA.
                                SA: Does LPOA make payments to you?
                                VP: No.
                                SA: Have you ever received money from them?
                                VP:No.
    Call intercepted   10/14/22 VP: I got a call from the same people that were
    between                     calling you the other day.
    JOHNNY                      JP: Downtown guys?
    PALERMO and                 VP: FBI guys, yeah ... They want to know if PACE
    VINCENT J.                  or LPOA pay me? ... every year we have to file
    PALERMO                     disclosure statements with the city. You have to
                                account for every penny that goes one way or
                                another. The only thing I can think of is ... the
                                trips .. . these dirty rotten .. they take a trip like last
                                year to Houston and all of a sudden it's, you know
                                oh my God.
                                JP: Right, right. .. they're digging, digging. They
                                probably got a whole file on us now.
                                VP: Oh 100%. They're looking at you, me,
                                [LPOA fundraiser], [PACE employee], Rich,
                                [LPOA Board member], anybody that hangs out at
                                the Lemon Drop, that's who they're looking at.
                                JP: Well fuck.
                                VP: If one little fucking trip has my name on it,
                                and a ticket was paid by you, they're gonna say I
                                should' ve claimed that. You know.
                                JP: Right.
                                VP: But the only thing it would be is plane tickets?
                                You know?
                                JP: Yeah. Yeah.


                                        8
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 9 of 27 - Page ID # 9




                                 VP: Hotel rooms. Stuff like that. I don't, you
                                 know, I don't think any of them was ever in my
                                 name.
                                 JP: Nah, nothing was in your name.
                                 VP: They dig and they dig. You know better than
                                 anybody.
                                 JP: Yeah.
                                 VP: You get one little name ... to see what it
                                 unravels ... they unravel everything to see where the
                                 fucking money's going ... .as an elected official, for
                                 a trip, I am supposed to claim it.
                                 JP: You didn't go as an elected official. You just
                                 went as the homeboy. You are my cousin.
                                 VP: Yep, exactly.
                                 JP: It made me look into the Jewish people, and
                                 how they operate. They're like the mafia on top of
                                 the mafia ... .that's what we gotta be like, you know
                                 what I'm saying.
                                 VP: They always have been ... that's why district 66
                                 is so tight. .. They take care of each other. I' 11 call
                                 Richie here in a little bit.

    Call intercepted   10/14/22 VP - Yep. Yep. They're gonna say that I was, I was
    between Vincent             paid by LPOA, and look at all the money I've got
    Palermo and                 for them. And here's what I got for return. Free
    Richard                     trips.
    Gonzalez                    RG - Holy shit.
                                VP - That's their spin. That's the way they fucking
                                work that madness.
                                RG - But you're an LPOA member too though,
                                right?
                                VP - No. No. Unofficially.
                                RG - You're an associate member.
                                VP - Yeah associate member. I don't pay dues
                                though.
                                RG - But you, you're probably gonna have to, you
                                are, I mean you are an associate member. You' 11
                                probably have to say that at some point anyways ...
                                VP - 100% dude. When he pulled my campaign
                                disclosure file, which I know what that is .. .
                                Every fucking penny you get from somebody has
                                to be on there. So, anyway .... Which means they're,


                                       9
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 10 of 27 - Page ID # 10




                                they're putting all their pieces of the puzzle
                                together
                                RG - Mhm.Yep, these mother fuckers, bro.
                                VP - I know how this works ... You guys better
                                watch your shit
                                RG - Well, they, they seen you on the fucking, like
                                you said, on a trip, people know that you went on a
                                trip.
                                VP - They seen me on a trip ... The only check I
                                ever received was last year, otherwise I never
                                turned in receipts for nothing ... They're looking for
                                the big ticket items and that $5,000 one is a big_
                                ticket item.
                                RG-Mhm
                                VP: ... That's exactly what it is. I mean I know,
                                but, like I said, it has to come from somewhere.
                                And somebody fuckin ratted. And then when they
                                start digging, then they start looking and that's, I
                                mean that's what they found.
                                RG: They pulled your shit.
                                VP: .. .They found something. But here's the thing.
                                Is anybody else getting any fucking calls? Like,
                                like, has anybody else reached out to Johnny and
                                said "hey the FBI reached out to me," and, you
                                know, no. Cause there are fucking people that will
                                turn us in
                                RG: Yeah.
                                VP: But I just wanna give you a heads up cause I
                                mean if they're calling me, technically they should
                                be calling others.
                                RG: Keep me posted.
                                VP: Yeah. I mean, fuck, I ain't sweat'en it.
                                VP: This is the fucking FBI. .. This is a brand new
                                opening of another web of what's going on.
                                RG: Yeah and it's no coincidence that's when you
                                just came back from a trip with the LPOA.
                                VP: Yep.
                                RG: You don't think those fucks all know that?
                                VP: I saw [UI] They must want me to put that in
                                there too. 100% ...
                                VP: The FBI investigates finance disclosure
                                problems . So this, again, this probably all got
                                opened up by something else that was started ....

                                     10
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 11 of 27 - Page ID # 11




                                   They're going through one by one and picking
                                   everybody a-fucking-part that's affiliated. This is
                                   no coincidence.
                                   RG: Right, right.
                                   VP: So. That's how, hey, that's how the fucking
                                   mafia gets taken down. By little fucking parts of
                                   their web all, you know, this way, that way ...
                                   VP: [LPOA fundraiser's] shit will never make the
                                   fucking newspaper. Me getting fucking a
                                   kickback? From a non-profit in the city of Omaha?
                                   Oh by the way, my cousin's the fucking president?
                                   Dude.
                                   RG: Mrnhmm.

     Conversation       10/14/22 JP - Man just watching this fucking power, like
     intercepted                 OPPD truck been sitting outside of my house for 6
     between                     hours. Mother fuckers watching me dog.
     RICHARD                     RG - (Laughter) No shit.
     GONZALEZ and                JP - These mother fuckers been out here 6 hours.
     JOHNNY                      Hold up. You talk to Vinny?
     PALERMO                     RG - Yeah! God .. .I'll tell you right now Johnny, if
                                 anybody comes to talk, to try to talk to you. Just
                                 say hey man ... just say you will have to talk to my
                                 accountant, I don't know.
                                 JP - Ok.
                                 RG - Right.
                                 JP - Yeah.
                                 RG - Like Vinny told them, I'm not talking to
                                 you ...
                                 JP- Mhm.
                                 RG - There are going to try to spin this shit. Like
                                 Vinny was giving uh uh money to LPOA and in
                                 return he was getting free trips.
                                 JP - Right, right.

     Call intercepted   10/20/22 JP: Well they're talking about kickbacks.
     between                     VP: Ah, see that's what they're talking to me. That's
     JOHNNY                      what they're talking to me about too.
     PALERMO and                 JP: So [LPOA fundraiser] went and did an
     VINCENT                     interview.
     PALERMO                     VP: Yeah.
                                 JP: He thought it was about his taxes.
                                 VP: Yeah.

                                       11
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 12 of 27 - Page ID # 12




                                 JP: But they were like, no, we want to know if you
                                 ever paid like somebody like Johnny Palermo. Or
                                 anybody on the board, you know what I mean?
                                 VP: Yeah dude ... They're investigating everybody
                                 for kickbacks. Which means somebody fucking
                                 ratted.
                                 JP: Yeah somebody's talking.
                                 VP: .. .But you know what? Here's the other thing
                                 too ... you better fucking believe somebody's seen us
                                 out somewhere and they seen that LPOA card pay
                                 and ... they correlate it as a kick back. ... so I wonder
                                 if they think [LPOA fundraiser] is part of a kick
                                 back crew.

     Conversation      10/27/22 BM #1 - How much did we spend at this
     intercepted                conference, legit?
     between LPOA               JP - I think 15.
     Board Member               BM #1 - But, but who, who all went that wasn't
     #1                         even ... that's not even LPOA besides Vinny?
                                JP - [LPOA fundraiser], and [PACE employee
                                known to grand jury] .
                                BM #1 - So, then he gettin kickbacks, that's what
                                it's going to.look like.
                                JP - Right
                                BM #1 - Fuck man ... why did we pay for him?
                                JP - I don't know, it was all Rich man, I don't
                                know. I didn't even know he was going.
                                BM #1 - Fuck man, Jesus Christ, I guess I'd kinda
                                quit asking questions, the less I know the better.
                                BM #1 - So who all, who else went that wasn't part
                                of the group? Part of a legit group?
                                BM #1 - [PACE employee known to grand jury]
                                JP-mm-hmm
                                BM #1- Vinny?
                                JP - Yeah

     Conversation      11/2/22   W-2: Well prepared to be pissed off at me.
     intercepted                 VP: Ok
     between Witness             W-2: I got the knock knock on my door today and
     #2 and                      ... I answered it like a dummy ... And they came up
     VINCENT J.                  to me and showed me their badges ...
     PALERMO                     VP: Yeah


                                      12
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 13 of 27 - Page ID # 13




                                W-2: And I panicked man ... Well they just, uh,
                                mainly, uh, they showed me four copies of ...
                                checks from the City of Omaha made payable to
                                LPOA and it said [Board Member #4] . ... wanted to
                                know, uh, if what I knew about your Turns Backs
                                Committee ...
                                VP: Ha, ha, ha
                                W-2: It has to be turned in if there were any gifts
                                or luxurious trips given to a Council Member.
                                VP:Oh.
                                VP: I know what they are after, they're after the
                                trips I took as a member of LPOA.
                                W-2: As a member not as a City ..
                                VP: As a member. I went as a member.
                                W-2: Ok
                                VP: And that money that was awarded to them, uh,
                                they're free to use it as they want. If they're saying
                                that I gave them City money and then in return that
                                City money was used for me to go on a trip, no it
                                was used for members to go on a trip.
                                W-2: ... Which ... I'm not giving them any
                                information besides yes, no, or I don't know ...
                                VP: ... And you should have said that was before
                                me.

     Conversation     12/9/22  JP - Yo. They ask about uh like the San Diego trips
     intercepted               and all that?
     between Board             BM #3 - Yep ... they talked about Vinny too
     Member #3 and             JP - Why'd they wanna know about Vinny?
     JOHNNY                    BM #3 - All sorts a shit. ..
     PALERMO                   JP - What did Vinny do though? He went on trips
     following FBI             with us
     interview of              BM #3 - He can't! He has to disclose that
     Board Member              JP - I get that. ..
     #3                        BM #3 - So it makes us look criminal
                               JP - Gotchu.
     Conversation     12/15/22 VP: I got questions about why I pick the same
     intercepted               people for fucking firework permits.
     between                   W-3: Seriously
     VINCENT J.                VP: Like there's some uh kickback or bribe going
     PALERMO and               on, it's like ... there should be
     Witness #3                W-3: (laughing) yeah
                               VP: There should be but there's fucking not.

                                     13
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 14 of 27 - Page ID # 14




                                W-3: Vinny, I'm learning this shit. And, so, I met
                                with [non-profit known to grand jury]s guys last
                                night. We went to fucking the Drover.
                                VP: uh huh
                                W-3: ... you fucking give them the firework permit
                                and you're a fucking rockstar
                                VP: Yeah ... for me, my picks have been the same
                                for five fucking years ...
                                W-3: You know what, Vinny, this thing was like
                                drinking out of fire hose for me ... But now that I've
                                been through it once, and now listening to you,
                                you're right,[Fireworks Vendor #1] needs to go get
                                some fucking hookers and coke or whatever for
                                [non-profit known to grand jury] dude
                                VP: Yeah it's not the council members. It's your
                                fucking non-profits that have to go with you .
                                . . .Because I'm going with them whoever they pick.
                                I think my non-profits are going with [Fireworks
                                Vendor #2]. All of them. Because [Fireworks
                                Vendor #2] is probably smart enough to say, hey
                                this fucking Palermo is picking you three every
                                year. I'll give you whatever you want. I want them
                                three permits. That's how it's suppose to be.
                                W-3: Yup yup yup .... I'm not going to invest any
                                time. You know who I'm picking.
                                VP: Yup yup
                                VP: ... I mean, it's simple fucking business. And
                                what I've heard is [fireworks vendor known to the
                                grand jury] don't like to pay as much as the others.
                                You know that's what Rich's biggest gripe with him
                                was. He was being fucking cheap with these non-
                                profits. You know. He was giving them 5 grand
                                and [Fireworks Vendor #2] comes in and said I'll
                                give you ten. Well, who the fuck you going to go
                                with. Cuz all they do is write them a check and
                                walk away. And they were like, no, [Fireworks
                                Vendor #1] don't want to raise his prices, he's being
                                cheap. We're not going with him. [Fireworks
                                Vendor #l]could have every one of them fucking
                                tents if he would just pony up.
                                W-3: Alright, very good to know.
                                VP: So
                                W-3: Alright, good shit man.

                                     14
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 15 of 27 - Page ID # 15




    All in violation of Title 18, United States Code, Section 1349.

                         Count II- Honest Services Fraud

                             Introductory Allegations :

 1. At times material to Count II, defendant VINCENT J. PALERMO was a city

    councilman and elected public official for the City of Omaha, who voted on

    contracts awarded by the City of Omaha. VINCENT J. PALERMO also claimed to

    be the owner of Auto Glass Pro, LLC, a/k/a Omaha Glass Pro (hereinafter "Omaha

    Glass Pro"), between approximately the years of 2012 and 2019. VINCENT J.

    PALERMO is the sole proprietor of Vinny's Tree Service business that is co-located

    with Omaha Glass Pro on L Street in Omaha, Nebraska.

 2. At times material to Count II, the current business owner of Omaha Glass Pro known

    to the grand jury, served as the manager of Omaha Glass Pro until approximately

    2019 when VINCENT J. PALERMO transferred ownership of the company to him.

    From 2012 to approximately January 1, 2019, VINCENT J. PALERMO claimed

    ownership of Omaha Glass Pro on tax forms and other legal documents.

 3. At times material to Count II, Omaha Glass Pro was a glass windshield repair and

    installation company that shares office space and lot space with Vinny's Tree

    Service. Omaha Glass Pro received over $93,000 in payments from the City of

    Omaha from contracts the City of Omaha awarded to Omaha Glass Pro.

 4. Between on or about January 1, 2018, and April 1, 2023, in the District of Nebraska

    and elsewhere, VINCENT J. PALERMO, defendant herein, did devise a scheme


                                         15
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 16 of 27 - Page ID # 16




    and artifice to defraud the public and the people of the City of Omaha of their

    intangible right to the honest services of City Councilman VINCENT J.

    PALERMO, and did transmit and cause to be transmitted by means of wire

    communication in interstate and foreign commerce and by means of facilities of

    interstate commerce, writings, signs, signals, pictures, and sounds for the purpose

    of executing such scheme and artifice, in violation of Title 18, United States Code,

    Section 1346 and Section 1343, to include electronically submitted Statements of

    Financial Interest that concealed commercial rent payments, tax payments, vehicle

    loan payments and other items of value that VINCENT J. PALERMO received from

    Omaha Glass Pro and its current owner and former manager.

 5. As part of the scheme to defraud the public of his honest services, VINCENT J.

    PALERMO received a truck from Omaha Glass Pro, that is a red 2018 Chevrolet

    truck. Omaha Glass Pro paid off the loan on his truck with the same checking

    account that received the city contract funds awarded to Omaha Glass Pro. The

    truck was paid off by Omaha Glass Pro during the timeframe that VINCENT J.

    PALERMO voted to award city contracts to Omaha Glass Pro.

 6. As part of the scheme to defraud the public of his honest services, VINCENT J.

    PALERMO's commercial rent for his sole proprietorship, Vinny 's Tree Service,

    was paid by Omaha Glass Pro at times material to Count II.

 7. It was part of the scheme to defraud that VINCENT J. PALERMO failed to disclose

    the financial benefits and property that VINCENT J. PALERMO received from

    Omaha Glass Pro that he was required to disclose under state law on his Statements


                                         16
 4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 17 of 27 - Page ID # 17




      of Financial Interests filed annually with the Nebraska Accountability and

      Disclosure Commission.

   8. It was part of the scheme to defraud that VINCENT J. PALERMO voted on

      numerous city contracts awarded to Omaha Glass Pro without disclosing his conflict

      of interest with Omaha Glass Pro, except for one filed Conflict of Interest form that

      VINCENT J. PALERMO filed after ownership of the business was transferred over

      in 2019.

   9. As part of the scheme to defraud the public described above, and reincorporated in

      each count below, VINCENT J. PALERMO in furtherance of the scheme, caused

      to be transmitted by means of wire communications, communications in interstate

      commerce and utilizing facilities of interstate commerce, the sounds and signals

      described below:

       Wire Description         Date       Wire Communication

       II. Email Submission     3/1/23     VINCENT J. PALERMO caused his 2022
       of Statement of                     Statement of Financial Interests to be filed
       Financial Interests                 electronically with the Nebraska
                                           Accountability and Disclosure Commission
                                           and there were material omissions on the
                                           Statement of Financial Interests, to wit
                                           commercial rent payments, vehicle loan
                                           payments, tax payments and other items of
                                           value received from Omaha Glass Pro.


   All in violation of Title 18, United States Code, Sections 1346 and 1343.

                               COUNT III - Bank Fraud

      Between on or about November 1, 2018, and on or about April 5, 2023, in the

District of Nebraska and elsewhere, VINCENT J. PALERMO, defendant herein, did

                                           17
 4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 18 of 27 - Page ID # 18




knowingly and intentionally execute and attempt to execute a scheme or artifice to

defraud certain financial institutions, to wit: First National Bank of Omaha, to obtain

money, funds , and property, that is $68,750 which debt was completely forgiven through

a Paycheck Protection Program "PPP" loan application and forgiveness application by

means of false or fraudulent pretenses or representations or promises, that is, by causing

the concealment of the fact that VINCENT J. PALERMO had a greater than 20%

ownership interest in Vinny' s Tree Service at the time of the application and that

VINCENT J. PALERMO was disqualified from receiving PPP loan money due to his

status on federal probation at the time of the loan application.

       In violation of Title 18 United States Code, Sections 1344(1) and 2.

                           COUNT IV - Honest Services Fraud

                                 Introductory Allegations:

   1. At times material to COUNT IV, defendant VINCENT J. PALERMO was a city

       councilman and elected public official for the City of Omaha, who voted on

       contracts awarded by the City of Omaha. VINCENT J. PALERMO voted on

       contracts for a concrete company known to the grand jury at times material to

       COUNT IV.

   2. At times material to COUNT IV, the concrete contractor known to the grand jury

       also did personal work on VINCENT J. PALERMO' s residence located in Omaha,

       Nebraska, at a discount and did work for Vinny's Tree Service, the defendant's

       Sole Proprietorship.




                                             18
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 19 of 27 - Page ID # 19




 3. Between on or about January 1, 2017, and April 1, 2023, in the District of

    Nebraska and elsewhere, VINCENT J. PALERMO, defendant herein, did devise a

    scheme and artifice to defraud the people of the City of Omaha of their intangible

    right to the honest services of City Councilman VINCENT J. PALERMO, and did

    transmit and cause to be transmitted by means of wire communication in interstate

    and foreign commerce and by means of facilities of interstate commerce, writings,

    signs, signals, pictures, and sounds for the purpose of executing such scheme and

    artifice, in violation of Title 18, United States Code, Section 1346 and Section

    1343, to include electronically submitted Statements of Financial Interests that

    concealed discounted concrete work that the defendant received from a concrete

    contractor who was awarded City of Omaha contracts.

 4. As part of the scheme to defraud the public of his honest services, VINCENT J.

    PALERMO had a concrete contractor who also does city contract work pour

    approximately 2,800 square feet of concrete for a "pool deck" in the defendant' s

    backyard and around the defendant's pool, that was falsely invoiced and recorded

    in bookkeeping records as only 1,600 square feet of concrete, resulting in a

    substantial discount to the defendantfrom market price.

 5. It was part of the scheme that VINCENT J. PALERMO assisted the concrete

    contractor with his city contract concerns and questions and voted for the concrete

    contractor to receive at least one city contract and contract extension.

 6. It was part of the scheme that VINCENT J. PALERMO paid the concrete

    contractor in cash to attempt to conceal the transaction and the contractor


                                          19
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 20 of 27 - Page ID # 20




    deposited a large portion of the proceeds in a bank account of the contractor's

    family member.

 7. It was part of the scheme to defraud that VINCENT J. PALERMO failed to

    disclose the financial benefits and discounted concrete work that VINCENT J.

    PALERMO received from the concrete contractor that he was required to disclose

    under state law on his Statements of Financial Interests filed annually with the

    Nebraska Accountability and Disclosure Commission.

 8. As part of the scheme to defraud the public described above, VINCENT J.

    PALERMO in furtherance of the scheme, on or about the date below, caused to be

    transmitted by means of wire communications, communications in interstate

    commerce and utilizing facilities of interstate commerce, the signals and sounds

    described below:

     Wire Description         Date     Wire Communication

     IV. Email Submission     3/1/23   VINCENT J. PALERMO caused his 2022
     of Statement of                   Statement of Financial Interests to be filed
     Financial Interests               electronically with the Nebraska Accountability
                                       and Disclosure Commission and there were
                                       material omissions on the Statement of Financial
                                       Interests, to wit an approximate discount of
                                       $10,800 on concrete work done in the
                                       defendant's backyard discounted to $15,200
                                       from approximately $26,000.


    All in violation of Title 18, United States Code, Sections 1346 and 1343.




                                         20
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 21 of 27 - Page ID # 21




                               COUNT V - Wire Fraud

 1. The allegations set out in Count I are hereby realleged as if set forth herein.

 2. The allegations set out in Count II are additionally hereby realleged as if set forth

    herein.

 3. At all times material to Count V, VINCENT J. PALERMO, was an elected

    official, that is a City Councilman for the City of Omaha and was required under

    Nebraska state law to file a "Statement of Financial Interests," annually with the

    Nebraska State Accountability and Disclosure Commission. Through that filing,

    VINCENT J. PALERMO was required to disclose any sources of income, rent,

    and gifts of more than $100 in value that VINCENT J. PALERMO received in the

    calendar year prior to the filing. VINCENT J. PALERMO was further required to

    disclose any businesses, non-profits, and other entities with which he had certain

    affiliations or ownership roles.

 4. On or about April 2, 2019, to on or about April 5, 2019, VINCENT J. PALERMO

    devised and intended to devise, and participated in, a scheme to defraud the

    citizens of Nebraska, and to obtain money and property by means of materially

    false and fraudulent pretenses, representations, and promises.

 5. It was part of the scheme that VINCENT J. PALERMO would fail to disclose

    material income, rent, and other property and gifts valued at over $100, that

    VINCENT J. PALERMO received from Omaha Glass Pro, LPOA, and PACE on

    his "Statement of Financial Interests," to conceal those benefits from the Citizens

    of Nebraska.


                                          21
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 22 of 27 - Page ID # 22




 6. It was part of the scheme that VINCENT J. PALERMO would take official acts as

    a City Councilman for the benefit of Omaha Glass Pro, LPOA, and PACE during

    the calendar year and he failed to disclose income, rent, gifts, and other property

    valued at over $100 from those entities.

 7. It was part of the scheme that VINCENT J. PALERMO failed to abstain from

    votes and actions that involved Omaha Glass Pro, LPOA, and PACE during the

    same calendar year in which VINCENT J. PALERMO received income, rent,

    property, and gifts valued at over $100 from those entities and failed to declare

    any conflicts of interest with those entities.

 8. As part of the scheme to defraud the public described above, VINCENT J.

    PALERMO in furtherance of the scheme, on or about the date below, caused to be

    transmitted by means of wire communications, communications in interstate

    commerce and utilizing facilities of interstate commerce, the signals and sounds

    described below:

      Wire          Date        Description

      V. Email   4/2/19 to VINCENT J. PALERMO caused his 2018 Statement of
      submission 4/5/19    Financial Interests to be filed electronically with the
      of Form              Nebraska Accountability and Disclosure Commission
                           and there were material omissions on the Statement of
                           Financial Interests, to wit commercial rent payments,
                           vehicle loan payments, tax payments, travel benefits
                           such as hotel room costs and airfare, and other income,
                           benefits, or gifts over $100 in value.


    All in violation of Title 18, United States Code, Section 1343.




                                           22
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 23 of 27 - Page ID # 23




                              COUNT VI - Wire Fraud

 1. The allegations set out in Count I are hereby realleged as if set forth herein.

 2. The allegations set out in Count II are hereby realleged as if set forth herein.

 3. On or about April 13, 2020, VINCENT J. PALERMO devised and intended to

    devise, and participated in, a scheme to defraud the citizens of Nebraska, and to

    obtain money and property by means of materially false and fraudulent pretenses,

    representations, and promises.

 4. As part of the scheme to defraud the public described above, VINCENT J.

    PALERMO in furtherance of the scheme, on or about the date below, caused to be

    transmitted by means of wire communications, communications in interstate

    commerce and utilizing facilities of interstate commerce, the signals and sounds

    described below:

      Count         Date        Description

      VI. Email 4/13/20         VINCENT J. PALERMO caused his 2019 Statement of
      submission                Financial Interests to be filed electronically with the
      of Form                   Nebraska Accountability and Disclosure Commission
                                and there were material omissions on the Statement of
                                Financial Interests, to wit commercial rent payments,
                                vehicle loan payments, tax payments, travel benefits
                                such as hotel room costs and airfare, and other income,
                                benefits, or gifts over $100 in value.


    All in violation of Title 18, United States Code, Section 1343.




                                           23
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 24 of 27 - Page ID # 24




                              COUNT VII - Wire Fraud

 1. The allegations set out in Count I are hereby realleged as if set forth herein.

 2. The allegations set out in Count II are hereby realleged as if set forth herein, with

    the addition that VINCENT J. PALERMO did file a Conflict of Interest form on

    February 11 , 2020, to abstain from a city contract vote for Omaha Glass Pro to the

    purposes of "Potential financial gain."

 3. On or about February 19, 2021, VINCENT J. PALERMO devised and intended to

    devise, and participated in, a scheme to defraud the citizens of Nebraska, and to

    obtain money and property by means of materially false and fraudulent pretenses,

    representations, and promises .

 4. As part of the scheme to defraud the public described above, VINCENT J.

    PALERMO in furtherance of the scheme, on or about the date below, caused to be

    transmitted by means of wire communications, communications in interstate

    commerce and utilizing facilities of interstate commerce, the signals and sounds

    described below:

      Count         Date        Description

      VII. Email 2/19/21        VINCENT J. PALERMO caused his 2020 Statement of
      submission                Financial Interests to be filed electronically with the
      of Form                   Nebraska Accountability and Disclosure Commission
                                and there were material omissions on the Statement of
                                Financial Interests, to wit commercial rent payments,
                                vehicle loan payments, tax payments, travel benefits
                                such as hotel room costs and airfare, and other income,
                                benefits, or gifts over $100 in value.


    All in violation of Title 18, United States Code, Section 1343.


                                          24
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 25 of 27 - Page ID # 25




                              COUNT VIII - Wire Fraud

 1. The allegations set out in Count I are hereby realleged as if set forth herein.

 2. The allegations set out in Count II are hereby realleged as if set forth herein.

 3. On or about March 1, 2022, VINCENT J. PALERMO devised and intended to

    devise, and participated in, a scheme to defraud the citizens of Nebraska, and to

    obtain money and property by means of materially false and fraudulent pretenses,

    representations, and promises.

 4. As part of the scheme to defraud the public described above, VINCENT J.

    PALERMO in furtherance of the scheme, on or about the date below, caused to be

    transmitted by means of wire communications, communications in interstate

    commerce and utilizing facilities of interstate commerce, the signals and sounds

    described below:

      Wire          Date        Description

      VIII.      3/1/22         VINCENT J. PALERMO caused his 2021 Statement of
      Email                     Financial Interests to be filed electronically with the
      submission                Nebraska Accountability and Disclosure Commission
      of Form                   and there were material omissions on the Statement of
                                Financial Interests, to wit commercial rent payments,
                                vehicle loan payments, tax payments, travel benefits
                                such as hotel room costs and airfare, and other income,
                                benefits, or gifts over $100 in value.


    All in violation of Title 18, United States Code, Section 1343.




                                           25
4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 26 of 27 - Page ID # 26




                               COUNT IX- Wire Fraud

 1. The allegations set out in Count I are hereby realleged as if set forth herein.

 2. The allegations set out in Count II are hereby realleged as if set forth herein.

 3. The allegations set out in Count IV are hereby realleged as if set forth herein.

 4. On or about March 1, 2023, VINCENT J. PALERMO devised and intended to

    devise, and participated in, a scheme to defraud the citizens of Nebraska, and to

    obtain money and property by means of materially false and fraudulent pretenses,

    representations, and promises.

 5. As part of the scheme to defraud the public described above, VINCENT J.

    PALERMO in furtherance of the scheme, on or about the date below, caused to be

    transmitted by means of wire communications, communications in interstate

    commerce and utilizing facilities of interstate commerce, the signals and sounds

    described below:

      Wire           Date       Description

      IX. Email 3/1/23          VINCENT J. PALERMO caused his 2022 Statement of
      Submission                Financial Interests to be filed electronically with the
      of Form                   Nebraska Accountability and Disclosure Commission
                                and there were material omissions on the Statement of
                                Financial Interests, to wit to wit an approximate
                                discount of $10,800 on concrete work done in the
                                defendant's backyard discounted to $15,200 from a
                                market price of approximately $26,000, commercial
                                rent payments, vehicle loan payments, tax payments,
                                travel benefits such as hotel room costs and airfare, and
                                other income, benefits, or gifts over $100 in value.


   All in violation of Title 18, United States Code, Section 1343.



                                           26
 4:23-cr-03052-JMG-CRZ Doc # 1 Filed: 04/19/23 Page 27 of 27 - Page ID # 27
                                                                               ,~ .- a:: l= 0 .
                                                                          US DISTRICT GOURT
                                                                        DISTRICT OF NEBRASKA

                                                A TRUE BILL.                 APR 1 9 2023




                                                   REPERSO
       The United States o f Ameri ca reques;s that trial of this caske held in Lincoln ,
Ne braska, pursuant to the rul es of thi s Court.




                                                LE          OODS , TX #24092092




                                           27
